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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR05-391-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   VALENTINO GUY,                       )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Controlled Substances

16 Date of Detention Hearing:     April 18, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant has been indicted , together with twenty-five co-defendants, on a charge

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 of Conspiracy to Distribute Controlled Substances, which is alleged to have transpired over a five

02 year period. The AUSA proffers that defendant is the source of supply of cocaine to the main

03 distributer in the conspiracy case. As a ten-plus year drug offense, there is a rebuttable

04 presumption against defendant as to both dangerousness and flight risk, under 18 U.S.C. §1342(e).

05          (2)     At the time the Indictment was filed, a bench warrant was issued for the defendant.

06 In an interview with Pretrial Services, defendant acknowledged that he had been eluding arrest

07 since the bench warrant was issued in November 2005. The AUSA proffers that the Marshals

08 Service engaged in extensive and aggressive efforts to locate defendant at that time. He self-

09 surrendered on April 17, 2006.

10          (3)     Defendant has a number of different residences at which he has resided on an

11 intermittent and sporadic basis. He owns two firearms but told Pretrial he does not know the

12 current location of the firearms at this time. He attorney reported the firearms are in a locked safe

13 in Eastern Washington. Defendant reports no employment since July 2005 and only sporadic

14 employment before that. The AUSA proffers that the defendant owns a home in Mexico although

15 the defendant denies this.

16          (4)     Nothing in the record effectively rebuts the presumption that no condition or

17 combination of conditions will reasonably assure the appearance of the defendant as required and

18 the safety of the community.

19 It is therefore ORDERED:

20          (1)     Defendant shall be detained pending trial and committed to the custody of the

21                  Attorney General for confinement in a correction facility separate, to the extent

22                  practicable, from persons awaiting or serving sentences or being held in custody

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01               pending appeal;

02         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

03               counsel;

04         (3)   On order of a court of the United States or on request of an attorney for the

05               Government, the person in charge of the corrections facility in which defendant is

06               confined shall deliver the defendant to a United States Marshal for the purpose of

07               an appearance in connection with a court proceeding; and

08         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

09               counsel for the defendant, to the United States Marshal, and to the United States

10               Pretrial Services Officer.

11         DATED this 18th day of April , 2006.



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13                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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